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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                     Plaintiff,

       v.                                         No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                    Defendants.


                                  [Alternative Proposed] Order

       Upon consideration by the Court of Defendants Binance Holdings Limited and Changpeng

Zhao’s Joint Motion to Dismiss pursuant to Federal Rules of Civil Procedure 12(b)(6), 12(b)(7),

and 12(f), it is hereby ORDERED that their motion is GRANTED, that the SEC’s requests for

injunctive relief against Mr. Zhao and disgorgement are STRICKEN, and that the following

claims are DISMISSED WITH PREJUDICE:

   1. All claims under Count One other than those based on the BNB ICO;

   2. All claims under Count Two;

   3. All claims under Count Three concerning Simple Earn;

   4. All claims under Counts Five through Twelve.




 Date: _________________                             ____________________________
                                                     AMY BERMAN JACKSON
                                                     United States District Judge
